            Case 5:22-cv-00553-XR Document 10 Filed 08/08/22 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


JOHN DOE,                                         §
                    Plaintiff                     §
                                                  §                  SA-22-CV-00553-XR
-vs-                                              §
                                                  §
SARMA COLLECTIONS, INC.,                          §
            Defendant                             §
                                                  §


                                              ORDER

          On this date, the Court considered Plaintiff’s motion for a protective order (ECF No. 3).

After careful consideration, the Court GRANTS Plaintiff’s motion.

          Plaintiff filed this lawsuit against Defendant Sarma Collections for allegedly selling

consumer reports indicating that Plaintiff was the perpetrator of a grand larceny and had been

charged with several drug-related offenses. ECF No. 1 ¶¶ 25–27. However, Plaintiff successfully

completed a drug program, and the charges were dismissed with prejudice. Id. ¶¶ 32–33.

Plaintiff’s criminal records were expunged, but Defendant’s consumer reports allegedly

contained the expunged records. Id. ¶¶ 32–33, 38. In order to litigate his claims against

Defendant, Plaintiff will necessarily have to present evidence as to his expunged criminal

conviction and arrest. Without using a pseudonym, Plaintiff’s name and his expunged criminal

record will become public, and he will be stripped of the protections which his expungement

afford him.

          Accordingly, it is hereby ORDERED:

       (1) John Doe has been GRANTED leave to proceed in pseudonym;




                                                  1
      Case 5:22-cv-00553-XR Document 10 Filed 08/08/22 Page 2 of 2




(2) All Parties shall take all necessary actions to protect the identity of John Doe from

   disclosure to the public, including but not limited to, redacting his name from publicly

   filed documents and using the pseudonym “John Doe” in all instances, including where

   redaction is not possible;

(3) If redaction or substitution of the pseudonym is not possible in the public filing of

   documents or other papers, such public filing shall be made under seal in accordance with

   this Court’s Local Rules;

(4) All Parties shall admonish party and non-party witnesses that they are obliged to maintain

   true name of John Doe, as well as all other identifying information about him, as

   confidential.

It is so ORDERED.

SIGNED this 8th day of August, 2022.




                                         XAVIER RODRIGUEZ
                                         UNITED STATES DISTRICT JUDGE




                                            2
